Case 1:23-cv-22756-RAR Document 12 Entered on FLSD Docket 09/28/2023 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DADE DIVISION



 ALEJANDRO ESPINOZA,                                          CASE NO. 1:23-cv-22756-RAR

        Plaintiff,

 vs.

 REGUS BUSINESS CENTRE, LLC.
       Defendant,
 ____________________________________________/

                                    NOTICE OF SETTLEMENT

 Plaintiff, ALEJANDRO ESPINOZA by and through his undersigned counsel, hereby gives the
 Court notice that Plaintiff, ALEJANDRO ESPINOZA and Defendant have reached a settlement in
 this matter. The parties are finalizing the settlement documents and will file a Notice of Dismissal.
 As such. parties request that this honorable Court allow 60 days to finalize all documents before
 dismissing the case.


                                                              Respectfully Submitted,

                                                              MENDEZ LAW OFFICES, PLLC
                                                              Attorney for Plaintiff
                                                              P.O. BOX 228630
                                                              Miami, Florida 33172
                                                              Telephone: 305.264.9090
                                                              Facsimile: 305.809.8474
                                                              Email:info@mendezlawoffices.com
                                                              By: /s/ Diego German Mendez
                                                              DIEGO GERMAN MENDEZ, ESQ.
                                                              FL BAR NO.: 52748

                                                   ###
